       Case 3:19-cv-00413-LRH-WGC Document 42 Filed 03/20/20 Page 1 of 5



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14
                                    UNITED STATES DISTRICT COURT
15
                                            DISTRICT OF NEVADA
16
     KARL HANSEN,                                         Case No. 3-19-cv-00413-LRH-WGC
17
                     Plaintiff,
18            vs.                                         FIRST STIPULATION TO EXTEND
                                                          PRETRIAL DEADLINES
19 ELON MUSK; TESLA, INC.; TELSA
   MOTORS, INC.; U.S. SECURITY
20 ASSOCIATES; DOES 1 THROUGH 50,

21
                     Defendants.
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     FIRST STIPULATION TO EXTEND PRETRIAL           -1-
     DEADLINES                                                            Case No. 3-19-cv-00413+-LRH-WGC

     62627487v.1
      Case 3:19-cv-00413-LRH-WGC Document 42 Filed 03/20/20 Page 2 of 5



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    FIRST STIPULATION TO EXTEND PRETRIAL        -2-
    DEADLINES                                                Case No. 3-19-cv-00413+-LRH-WGC

    62627487v.1
       Case 3:19-cv-00413-LRH-WGC Document 42 Filed 03/20/20 Page 3 of 5



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 9 Attorneys for Defendant
   U.S. SECURITY ASSOCIATES
10

11            Pursuant to LR IA 6 of the Local Rules of Practice for the District Court for the District of
12 Nevada, Plaintiff Karl Hansen and Defendants Elon Musk (“Musk”), Tesla, Inc., Tesla Motors, Inc.

13 (collectively the “Tesla Parties”), and U.S. Security Associates (“USSA”) (collectively “Parties”) by

14 and through their respective counsel, jointly stipulate and move this Court to extend the remaining

15 deadlines set forth in the Court’s Order of December 10, 2019 (Docket Entry “D.E.” 27) in light of

16 the following:

17            On February 27, 2020, the Tesla Parties filed a motion to compel arbitration. (D.E. 39.) On
18 March 10, 2020, Plaintiff filed an opposition to the Tesla Parties’ motion to compel arbitration. (D.E.

19 40.) On March 17, 2020, the Tesla Parties filed a reply in support of their motion to compel

20 arbitration. (D.E. 41.) This Court’s ruling on the motion to compel may potentially change the scope

21 and procedural posture of this matter.

22            On March 12, 2020, Governor Sisolak declared a state of emergency for Nevada in response
23 to the novel coronavirus disease outbreak. One day later, on March 13, 2020, President Donald

24 Trump issued a proclamation on declaring a national emergency concerning the novel coronavirus

25 disease (COVID-19) outbreak. In light of the COVID-19 outbreak, the Parties and their respective

26 counsel are unable to travel to take depositions, and various offices are closed pending further notice.
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     FIRST STIPULATION TO EXTEND PRETRIAL              -3-
     DEADLINES                                                                   Case No. 3-19-cv-00413+-LRH-WGC

     62627487v.1
       Case 3:19-cv-00413-LRH-WGC Document 42 Filed 03/20/20 Page 4 of 5



 1            WHEREFORE, the Parties hereby jointly stipulate and respectfully move this Court to enter

 2 an Order extending the remaining deadlines set forth in its December 10, 2019 Order as follows:

 3            Deadline Plaintiff’s disclosure of expert testimony:                 May 25, 2020

 4            Deadline: Defendant’s disclosure of expert testimony:                June 26, 2020

 5            Deadline: Discovery cut-off:                                         July 25, 2020

 6            Deadline: Dispositive Motions:                                       August 24, 2020

 7            Deadline: Joint Pre-trial Order:                                     September 22, 2020

 8 Jointly and respectfully submitted:

 9 Dated: March 20, 2020                     THE EMPLOYMENT LAW GROUP

10
                                                    /s/
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     Date: March 20, 2020                    SEYFARTH SHAW LLP
17

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                                                    /s/
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                                             Tesla Motors, Inc.
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     FIRST STIPULATION TO EXTEND PRETRIAL              -4-
     DEADLINES                                                                     Case No. 3-19-cv-00413+-LRH-WGC

     62627487v.1
       Case 3:19-cv-00413-LRH-WGC Document 42 Filed 03/20/20 Page 5 of 5



 1 Date: March 20, 2020                     MARTENSON, HASBROUCK & SIMON LLP

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                                                  /s/
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                                            9555 Hillwood Drive, 2nd Floor
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 7                                          Attorneys for U.S. Security Associates
 8
     IT IS SO ORDERED:
 9

10 DATED: ______________________
                                                   ___________________________________________
11                                                 UNITED STATES DISTRICT JUDGE,
                                                   UNITED STATES MAGISTRATE JUDGE,
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     FIRST STIPULATION TO EXTEND PRETRIAL              -5-
     DEADLINES                                                                  Case No. 3-19-cv-00413+-LRH-WGC

     62627487v.1
